     Case 2:17-cv-02000-APG-GWF Document 84 Filed 09/26/17 Page 1 of 4




1 Byron Z. Moldo
   bmoldo cr,ecjlaw.com
2 a i ornia Bar
            0          52
  Admitted Pro Hac Vice
3 ERVIN COHEN & JESSUP LLP
  9401 Wilshire Boulevard, Ninth Floor
4 Beverly Hills, California 90212-2974
  Telephone (310)273-6333
5 Facsimile (310)859-2325

 6 Bart K. Larsen
    blarsen cr,klnevada.com
 7 Neva   a a 53
   KOLESAR & LEATHAM
 8 400 S. Rampart        vard, Suite 400
   Las Vegas, NV 9145
 9 Telephone 702)362-7800
   Facsimile( 02)362-9472
10
   Attorneys for Joshua Teeple, Permanent Receiver
11
12
13
14                                UNITED STATES DISTRICT COURT

15                         DISTRICT OF NEVADA,SOUTHERN DIVISION

16
17 ~ FEDERAL TRADE COMMISSION,,                       Case No. 17-CV-02000-APG-GWF

18                       Plaintiff,                   RESPONSE OF JOSHUA TEEPEE,
                                                      PERMANENT RECEIVER,TO
19             v.                                     DEFENDANT REVGUARD,LLC'S,
                                                      DEFENDANT REVLIVE! LLC'S
20 REVMOLJNTAIN,LLC, a Nevada                         AND DEFENDANT ROADRUNNER
   'i limited liability company, et al.               BC2, LLC'S COMBINED MOTION
21                                                    TO DISMISS
                    Defendants.                                   __
22
23                                                    The Hon. Andrew P. Gordon

24            Joshua Teeple, Permanent Receiver ("Receiver"), herewith submits his
25 response to the Motion to Dismiss ("Motion") filed by Defendants RevGuard, LLC,
26 ~ ~ RevLive!, LLC, and Roadrunner B2C, LLC ("RevEntities"), and states as follows:
27             1.        Joshua Teeple is the duly appointed, qualified and acting Permanent
28 ~ ~ Receiver pursuant to this Court's September 1, 2017 Preliminary Injunction with

     16177.1:4151980.1
     Case 2:17-cv-02000-APG-GWF Document 84 Filed 09/26/17 Page 2 of 4




 1 Asset Freeze, Appointment of Receiver, and Other Equitable Relief as to
 2 Defendants Blair McNea, Jennifer Johnson, and Entity Defendants ("Order").
 3            2.         On September 8, 2017, the RevEntities filed the Motion.
 4            3.         Prior to the Receiver's appointment, one or more of the RevEntities
 5 ~ conducted some of their business operations at 6260 Lookout Road, Boulder,
 6 ~ Colorado ("Boulder Premises").
 7            4.         Following his appointment the Receiver assumed possession and
 8 control of the Boulder Premises, and remains in possession and control of the
 9 Boulder Premises.
10            5.         The Receiver discovered that RevGuard, LLC("RevGuard")
11 previously executed a written lease agreement, dated June 22, 2007, and
12 amendments thereto, with a term that expired December 31, 2018 ("Lease"). At the
13 present time the monthly rent of RevGuard pursuant to the Lease is $12,829.90.
14            6.         The Boulder Premises contain furniture, equipment, computers, and
15 other items of personal property ("Personal Property") that possesses value that can
16 be sold for the benefit of the creditors of the receivership estate.
17            7.         At the present time none of the RevEntities are operating at the Boulder
18 ~ Premises. Therefore, there is no further need to occupy the Boulder Premises, and
19 the Receiver concluded that it was in the best interests of the receivership estate to
20 immediately vacate the Boulder Premises, and reject the Lease.
21             8.
               An offer to purchase the Personal_ Property from the Receiver was
                                                   _
22 submitted by Hyde Engineering +Consulting ("Hyde"), a current tenant at the
23 Boulder Premises. In addition, Hyde proposed to acquire possession of space on the
24 first floor of the Boulder Premises that RevGuard currently occupies pursuant to the
25 Lease.
26             9.        The Receiver notified the landlord of the Boulder Premises that, subject
27 ~ to the approval of this Court, he intended to sell the Personal Property to Hyde,
28 abandon the Boulder Premises, and reject the Lease. The Receiver's goal was to


     16177.1:4151980.1                               2
     Case 2:17-cv-02000-APG-GWF Document 84 Filed 09/26/17 Page 3 of 4



 1 vacate the Boulder Premises by no later than September 30, 2017.
 2            10.        In order to accomplish the foregoing transaction as quickly as possible,
 3 on September 20, 2017,the Receiver's counsel prepared and circulated to all
 4 counsel a proposed stipulation. Counsel for the RevEntities responded and informed
 5 the Receiver that due to the pending Motion, his clients objected to the proposed
 6 stipulation.
 7            1 1.       While the Receiver is not taking a position in response to the Motion,
     until this Court issues a ruling, administrative expenses associated with occupancy
 9 ofthe Boulder Premises will continue to be incurred including but not limited to
10 rent. Therefore, the Receiver respectfully requests that this Court expedite its
11 consideration of the Motion.
12 DATED: September 26, 2017                              Respectfully submitted,
13                                                        ERVIN COHEN & JESSUP LLP
14
15                                                        By: /s/ Byron Z. Moldo
                                                          BYRON Z. MOLDO
16
                                                          Attorneys for.Joshua Teeple,
17                                                        Permanent Receiver
18
19
20
21
22
23
24
25
26
27
28


     16177.1:4151980.1                                3
     Case 2:17-cv-02000-APG-GWF Document 84 Filed 09/26/17 Page 4 of 4



1                                              CERTIFICATE OF SERVICE

2 STATE OF CALIFORNIA,COUNTY OF LOS ANGELES

3        At the time of service, I was over 18 years of age and not a party to this action. I am
  employed in the County of Los Angeles, State of California. My business address is 9401
4 Wilshire Boulevard, Ninth Floor, Beverly Hills, CA 90212-2974.

5 On September 26, 2017, I served true copies ofthe following documents) described as
  RESPONSE OF JOSHUA TEEPEE,PERMANENT RECEIVER,TO DEFENDANT
6 REVGUARD,LLC'S,DEFENDANT REVLIVE! LLC'S AND DEFENDANT
  ROADRUNNER BC2,LLC'S COMBINED MOTION TO DISMISS on the interested parties
7 in this action as follows:

 g            Blaine T Welsh Blaine.Welsh@usdoj.gov, CaseView.ECF@usdoj.gov, eunice.jones@usdoj.gov, sue.knightausdoj.gov
              Eric W. Swanis swanise@gtlaw.com, heilichj@gtlaw.com,jacksonsa@gtlaw.com, lvlitdock@gtlaw.com
9             Ronald D Green, Jr rdg@randazza.com, ecf@randazzacom, trey-rothell-2425@ecf.pacerpro.com

10            Eric D. Done ehone@dickinsonwright.com, LV_LitDocket@dickinsonwright.com,
              bdonaldson@dickinsonwright.com, lstewart@dickinsonwright.com
11            Peter Alan Davidson     pdavidson@ecjlaw.com, Imacdonald@ecjlaw.com
              Byron Z. Moldo      bmoldo@ecjlaw.com
12
              Bart K Larsen      blarsen@klnevada.com,jierien@klnevada.com, mbarnes@klnevada.com, usdistrict@klnevada.com
13            Gabriel A. Blumberg gblumberg@dickinson-wright.com, LV_LitDocket@dickinsonwright.com,
              bdonaldson@dickinsonwright.com, lstewart@dickinson-wright.com
14            Sarah Waldrop      swaldrop@ftagov, rkiml@ftc.gov

15            Rachel Hirsch      rhirsch@ifrahlaw.com, docketing@ifrahlaw.com
              Richard B Newman        rnewman@hinchnewman.com
16            Michelle Schaefer     mschaefer@ftc.gov

17            Giovanni Michael Ruscitti     gmr@bhgrlaw.com, djm@bhgrlaw.com
              Claude Wild, III     cwild@claudewildlaw.com
18

19
           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
20 documents)     with the Clerk ofthe Court by using the CM/ECF system. Participants in the case
   who are registered CM/ECF users will be served by the CM/ECF system. Participants in the case
21 who are not registered CM/ECF users will be served by mail or by other means permitted by the
   court rules.
22
           I declare under penalty of perjury under the laws of the United States of America that the
23 foregoing  is true and correct and that I am employed in the office of a member of the bar of this
   Court at whose direction the service was made.
24
           Executed on September 26, 2017, at Beverly Hills, California.
25

26
                                                                  /s/ Lore Pekrul
27                                                                Lore Pekrul

28


     16177.1:3701910.1
